Case 4:09-cr-00070-SDJ-KPJ Document 159 Filed 08/27/09 Page 1 of 2 PagelD #: 620

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

SHERMAN DIVISION

UNITED STATES OF AMERICA § 1 04 CATO
§
v. § CAUSE NO-f08CR70"
§ (GWudge Crone)
KYLA ELAINE KIRBY (7) §
8
STATEMENT OF FACTS

 

The defendant, KYLA ELAINE KIRBY, hereby stipulates and agrees that at all times
relevant to the Indictment herein, the following facts were true:

I. That the defendant, KYLA ELAINE KIRBY, who is changing her plea to
guilty, is the same person charged in the Indictment.

2. That the events described in the Indictment occurred in the Eastern
District of Texas and elsewhere.

3, That KYLA ELAINE KIRBY, Brian Anderson, and one or more other persons in
some way or manner made an agreement to commit the crime charged in the Indictment; to
knowingly and intentionally distribute and possess with the intent to distribute and dispense
Methamphetamine and Gamma Hydroxybutyrate (GHB).

4. That KYLA ELAINE KIRBY knew the unlawful purpose of the agreement
and joined in it with the intent to further it.

5, That KYLA ELAINE KIRBY knowingly and intentionally joined in the
agreement with the intent to further it and committed the following acts, among others:

On or about March 18, 2008, KYLA ELAINE KIRBY and Brian Anderson
distributed 4 kilograms of GHB.
Case 4:09-cr-00070-SDJ-KPJ Document 159 Filed 08/27/09 Page 2 of 2 PagelD#: 621

DEFENDANT 'S SIGNATURE AND ACKNOWLEDGMENT
6. Ihave read this Statement of Facts and the Indictment and have
discussed them with my attorney. I fully understand the contents of this Statement of Facts and

agree without reservation that it accurately describes the events and we acts.
/|

A Wega oN

KYLA EL INE Saat ;
Defendant

( /
COUNSEL FOR DEFENDANT'S SIGNATURE AND ACKNOWLEDGMENT

  

7. I have read this Statement of Facts and the Indictment and have
reviewed them with my client. Based upon my discussions with the defendant, I aim satisfied that

the defendant understands the Statement of Facts and the Indictment.

“}

wo ~y, Koon —— CL
GARLAND CARDWELL
Attorney for the Defendant

   
